                      IN THE UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF NORTH CAROLINA

SAMUEL SHAW,


        Plaintiff,
                                                       Civil No. 1:18-CV-00557-WO-JEP
        v.


ELON UNIVERSITY,


        Defendant.


    NOTICE OF WITHDRAWAL OF APPEARANCE AND SUBSTITUTION OF COUNSEL
         NOW COMES Philip W. Paine, an attorney with Pierce Law Group, PLLC, and pursuant to
Local Rule 83.1(e), gives notice of his appearance as counsel for Plaintiff Samuel Shaw in the above-
referenced action. Mr. Paine appears in place of Laura Beth Waller, who has withdrawn from Pierce Law
Group to pursue other legal opportunities. The undersigned hereby requests that all pleadings, motions,
notices, correspondence and other papers relating to the above-captioned action be sent to the undersigned
at the address listed below.
        This the 11th day of June, 2019.
                                                         PIERCE LAW GROUP, PLLC

                                                         By: /s/Philip W. Paine
                                                         Philip W. Paine
                                                         NC State Bar No. 31710
                                                         Attorneys for Plaintiff
                                                         9121 Anson Way, Suite 200
                                                         Raleigh, NC 27615
                                                         Telephone: (919) 584-5559




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                                        Certificate of Service
         The undersigned hereby certifies that the foregoing NOTICE OF APPEARANCE AND
SUBSTITUTION OF COUNSEL was duly served in accordance with the Federal Rules of Civil Procedure by
electronic service through the Court’s CM/ECF system and/or placing a copy thereof in the United States
mail, first class postage prepaid, addressed as follows:



Dan M. Hartzog
Katherine Marie Barber-Jones
Dan McCord Hartzog, Jr.
CRANFILL SUMNER & HARTZOG LLP
PO Box 27808
Raleigh, NC 27611


This the 11th day of June, 2019.



                                                                 PIERCE LAW GROUP, PLLC

                                                                 s/ Philip W. Paine
                                                                 Philip W. Paine, Esq.
                                                                 Attorneys for Plaintiff




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